                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 ___________________________________
                                     :
 JOHN DOE,                           :
                                     :
                   Plaintiff,        : Case No. 1:23-cv-00114
                                     :
     v.                              :
                                     :
 WAKE FOREST UNIVERSITY,             :
                                     :
                   Defendant.        :
 ___________________________________ :

      MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S MOTION FOR A
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

             Defendant Wake Forest University (the “University”) opposes Plaintiff’s Motion for a

Temporary Restraining Order and Preliminary Injunctions (“Motion”) as follows:

                            SUMMARY OF THE NATURE OF THE CASE

             This lawsuit arises from the University’s response to a student’s allegations that John Doe

sexually assaulted her. The thrust of Plaintiff’s case is that when the University’s external,

independent hearing officer resolved disputed facts in Jane Roe’s favor, the hearing officer did so

based on unlawful gender bias instead of an impartial and reasonable review of the facts.

             The University recognizes that a sexual misconduct investigation is deeply personal and

emotional for the parties involved. But with respect to the University’s process and when viewed

through the lens of legal obligations, this particular investigation was unremarkable. There were

no significant issues or disputes during the investigation, the objections Doe raised at the hearing

were few and minor in nature, and both the Hearing Officer’s and Appeal Officer’s decisions were

straightforward and well-reasoned.




41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 1 of 27
             John Doe plainly disagrees with the outcome reached by the University’s Hearing Officer,

but his Motion is predicated on the unsupported idea that but for his sex, the hearing would have

come out differently. Support for that contention is nowhere to be found in the record. The bar on

a motion for preliminary injunctive relief is difficult to clear under any circumstances, and

particularly so here because Doe has asked the Court to order a change the status quo and permit

his return to the University prior to the conclusion of his suspension.

             Preliminary injunctive relief is inappropriate in this case for several reasons. First, the

principle harm that Doe has identified – a delay in his graduation resulting from his one-year

suspension – cannot be avoided through preliminary relief. As set forth in several declarations

submitted with this brief, it is already too late in the semester for Doe to earn the credits required

for him to graduate; there is no evidence in the record to the contrary. In fact, the evidence shows

that even when Plaintiff was permitted to attend classes before his suspension was final, he did so

only sporadically. Because an injunction would not remedy any alleged irreparable harm,

preliminary equitable relief is improper.

             Second, Doe has failed to articulate any irreparable harm. He contends that the passage of

time will cause him to lose promised employment, but concedes that lost employment can be

compensated through legal remedies. See Pl.’s Br. at 18-19. Doe speculates that the delay in

graduation will have broader consequences, but an injunction requires imminent, actual harm, and

the facts before the Court suggest most clearly that Doe has already been able to obtain

employment before getting a degree; there is no reason to believe he will not be able to do the

same thing next year when his graduation is imminent.

             Third, Plaintiff has failed to carry his burden to show by clear and convincing evidence

that he is likely to succeed on the merits of showing that but for his gender, a different result would


                                                     -2-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 2 of 27
have occurred. The circumstantial evidence of purported bias Plaintiff presents is thin to the point

of breaking, and more often than not dramatically overstates what actually occurred. Where

Plaintiff contends that the Hearing Officer permitted Jane Roe’s advisor to interrupt cross-

examination, for instance, the record shows she did so twice in two hours, once to ask if a question

was relevant, the other to inquire about time. This is not a Rule 12 motion, and when Plaintiff’s

allegations are peeled back and tested, sweeping language shrinks to a small set of benign, isolated,

and inconsequential exchanges that do not approach Plaintiff’s burden of showing that sex-bias

dictated the outcome of his case.

             Fourth, the final two prongs of the analysis – the balance of the equities and public interest

– both cut against Plaintiff here. Having failed to make his showing as to a likelihood of success,

there is no public interest in undermining the University’s legally-imposed obligations to

investigate and adjudicate allegations of campus misconduct and likewise no strong justification

to permit the impact on Jane Roe that ordering Plaintiff back on campus would result in.

             The Court should deny Plaintiff’s Motion.

                                RELEVANT FACTUAL BACKGROUND

   I.        The Wake Forest Policy

             The University is required to investigate and respond to complaints of sexual harassment

and assault by, and/or against, University students or employees. See 20 U.S.C. §1681 et seq.; 34

C.F.R. Part 106 et seq. In response to its obligations, the University implemented the Wake Forest

University Sex and Gender Discrimination and Harassment Policy and Title IX Sexual Harassment

and Non-Title IX Sexual Misconduct Grievance Procedures (the “Policy”), attached as Exhibit A.

             In brief, the Policy requires that a complainant file a formal complaint to trigger the

University’s response process. Id. at § 2A.03. After a formal complaint is filed, the University


                                                      -3-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 3 of 27
sends a notice containing the allegations to both parties. Id. at § 2A.04. The complaint can follow

a formal resolution process, with an investigation, a hearing, and an appeal, or an “Adaptive

Resolution” process, whereby a variety of techniques are employed by a facilitator to determine

whether the matter can be resolved by agreement. Id. at § 3A.01. An Adaptive Resolution process

requires the consent of all parties and the University, and cannot start until after a formal complaint

has been filed. If Adaptive Resolution fails, the complaint reverts to a formal resolution. Id.

             Under a formal resolution process, an investigator meets with parties and witnesses to

gather facts. Id. at § 2B.02. Each party is provided notice of allegations prior to any substantive

meeting with the investigator. Id. at § 2A.04. The investigator’s role is not to make any findings,

factual or otherwise, and not to draw any conclusions regarding credibility. Instead, the

investigator facilitates the gathering and summary of relevant evidence provided by the parties and

which is otherwise available. Id. at § 2B.04

             Following the investigation, the investigator creates a report summarizing the gathered

evidence. Id. The report is provided to the parties and to a hearing officer, who presides over a

hearing to resolve factual disputes and make findings with respect to whether any policy violations

occurred. Id. The hearing takes place live and contemporaneously, though parties and witnesses

are permitted to participate remotely via Zoom or other similar platform. Id. at § 3A.08. At the

hearing, the hearing officer may examine, and each party’s advisor (who may or may not be a

lawyer) may cross-examine, all parties and witnesses. Id. The hearing officer is required to

consider each question and rule as to whether it is relevant, with only relevant questions allowed

to be answered. Id. Once the hearing has concluded, the hearing officer drafts a final outcome letter

containing factual findings, outcome determinations with respect to any potential policy violations,




                                                   -4-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 4 of 27
and rationales. Id. at §§3A.11, 3A.14. A different University administrator is responsible for

imposing an appropriate sanction where warranted. Id. at § 3A.12.

             Both parties have the right to appeal the outcome on the grounds of: (1) a procedural

irregularity that affected the outcome; (2) new evidence that was not reasonably available at the

time of the determination and could affect the outcome; and (3) the Title IX Coordinator, an

investigator, or the hearing or sanctions officers had a conflict of interest or bias that affected the

outcome. Id. at § 3A.15. The appeal is heard by an appeal officer who has not participated in any

earlier stage of the process, and the outcome of the appeal is final. Id. at § 3A.17.

 II.         The Allegations against Plaintiff

             On October 15, 2021, Plaintiff attended a sorority “date night” event with Jane Roe. See

ECF No. 1, Compl. at ¶¶ 135-44; ECF No. 6-7, the Final Outcome Letter (“Final Outcome Letter”)

which is attached as Exhibit B. After a night of parties and drinking, Plaintiff spent the night in

Jane Roe’s bed in her dorm room where the parties engaged in sexual activity. It is undisputed that

on the morning of October 16, 2021, Plaintiff digitally penetrated Jane Roe, though consent to that

act was disputed. See Compl. at ¶ 161. Jane Roe also claimed that Plaintiff had nonconsensual

intercourse with her the prior night either while she was incapacitated, or after she withdrew

consent. See Final Outcome Letter at 1-2. Plaintiff said he was unable to get an erection, so they

never had intercourse. Id. at 11.

III.         The Investigation and Hearing

             On April 12, 2022, Jane Roe filed a formal complaint (“Formal Complaint”) with the

University’s Title IX Office. A copy is attached as Exhibit C. Jane Roe alleged that she was

sexually assaulted by Plaintiff: “[Plaintiff] attended my sorority date function as my date on

October 15th. After the event in my dorm room I was unable to give consent to activity that


                                                   -5-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 5 of 27
occurred and the next morning non-consensual activity occurred.” Id. On April 13, 2022, the

University’s Title IX Coordinator, Aishah Casseus, sent a formal Notice of Allegations (“Notice”)

to Plaintiff, which is attached as Exhibit D. The Notice was consistent with § 2A.04 of the Policy.

             The parties agreed to participate in Adaptive Resolution, to attempt to reach a resolution

without a formal investigation. See Policy at § 3A.01; Declaration of Aishah Casseus attached as

Exhibit E (“Casseus Decl.”) at ¶¶ 18-23. On August 18, 2022, after Adaptive Resolution was

unsuccessful, Jane Roe requested to proceed to a formal investigation. See Casseus Decl. ¶ 24.

             The investigation proceeded consistent with University Policy. Title IX Investigator

Jessica Telligman interviewed Plaintiff and Jane Roe four times each. See Declaration of Jessica

Telligman (“Telligman Decl.”) attached as Exhibit F. Following Jane Roe’s first interview,

Telligman alerted Casseus that Jane Roe had clarified her allegations to make clear that she was

alleging two instances of assault: one the night of the “Date Night,” and one the next morning,

both in her dorm room. Id. at ¶¶ 20, 22. Based on this information, Casseus provided Doe with a

supplemental Notice before his first interview with Telligman, which is attached as Exhibit G.

Telligman also interviewed six other witnesses and collected documents and exhibits submitted by

the parties. On November 5, 2022, Investigator Telligman issued her report (“Investigation

Report”) to Plaintiff and Jane Roe, which is attached as Exhibit H.

             A hearing was held on November 29, 2022. See Compl. ¶ 228. On December 20, 2022,

Hearing Officer Dixie Wells issued the Final Outcome Letter, finding that the evidence established

that it was more likely than not that John Doe committed sexual misconduct in violation of the

Policy. See Final Outcome Letter at 22. On January 3, 2023, John Doe filed an Appeal (“Appeal”)

of Final Outcome Letter, which is attached as Exhibit I. On January 23, 2023, Appeal Officer

Howard Kallem issued his Appellate Decision (“Appellate Decision”) attached as Exhibit J,


                                                    -6-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 6 of 27
which affirmed the Final Outcome Letter. Plaintiff was suspended for one year. See letter from Dr.

Jim Settler to John Doe, dated January 24, 2023, attached as Exhibit K. On February 7, 2022,

Plaintiff filed the Complaint and the Motion.

                                         LEGAL STANDARD

             A preliminary injunction is an “extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

555 U.S. 7, 20 (2008); see also MicroStrategy Inc. v. Motorola, Inc., 245 F.3d 335, 339 (4th Cir.

2001) (stating a preliminary injunction is an “extraordinary remed[y] involving the exercise of a

very far-reaching power to be granted only sparingly and in limited circumstances”).

             To obtain a preliminary injunction, a movant must establish the following through clear

and convincing evidence: (1) a likelihood of success on the merits; (2) a likelihood the movant

will suffer irreparable harm in the absence of relief; (3) the balance of equities tips in the movant’s

favor; and (4) the injunction is in the public interest. A Hand of Hope Pregnancy Res. Ctr. v. City

of Raleigh, 332 F. Supp. 3d 983, 1005 (E.D.N.C. 2018) (citing Winter, 555 U.S. at 20). This

showing is substantially more burdensome than that necessary to survive a motion to dismiss.

Allstate Ins. Co. v. Warns, No. CIV. CCB-11-1846, 2012 WL 681792, at *15 (D. Md. Feb. 29,

2012); Action NC v. Strach, 216 F. Supp. 3d 597, 628 (M.D.N.C. 2016) (the standard for a

preliminary injunction is a higher burden than to survive a Rule 12 motion.).

             A preliminary injunction may be either prohibitory or mandatory. League of Women Voters

of N. Carolina v. North Carolina, 769 F.3d 224, 236 (4th Cir. 2014). Mandatory injunctions alter

the status quo, while “prohibitory injunctions ‘aim to maintain the status quo and prevent

irreparable harm while a lawsuit remains pending.’” Id. When an injunction is mandatory, courts’

application of the exacting standard of review appropriate for all preliminary injunctions “is even


                                                   -7-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 7 of 27
more searching.” Pashby v. Delia, 709 F.3d 307, 319 (4th Cir. 2013). A plaintiff’s request to nullify

an administrative process to return to a previous status quo constitutes a request for a mandatory

injunction. EZ-Ink, Inc. v. Brother Indus., Ltd., No. 2:21CV564, 2021 WL 7909312, at *5 (E.D.

Va. Dec. 9, 2021) (holding that a request to nullify a neutral patent evaluation process to allow

certain products to be relisted for sale was a request for mandatory relief). And as here, a request

to reverse the punishment from a Title IX investigation is a request for mandatory relief. Montague

v. Yale Univ., No. 3:16-CV-00885(AVC), 2017 WL 4942772, at *3 (D. Conn. Mar. 8, 2017)

(request to reinstate student was mandatory); Heineke v. Santa Clara Univ., No. 17-CV-05285-

LHK, 2018 WL 3368455, at *10 (N.D. Cal. July 10, 2018), aff’d, 965 F.3d 1009 (9th Cir. 2020)

(request to reinstate tenured professor terminated for sexual harassment was mandatory).

                                              ARGUMENT

   I.        Plaintiff has not shown that absent injunctive relief he will suffer irreparable harm.

                a. Plaintiff cannot avoid the harm he contends is irreparable.

             “[A]n important part of the analysis courts must conduct in considering whether to grant a

preliminary injunction, [is] whether the party ‘is likely to suffer irreparable harm in the absence of

preliminary relief.’” Lecky v. Virginia State Bd. of Elections, 285 F. Supp. 3d 908, 921 (E.D. Va.

2018) (emphasis in original) (quoting Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017)).

Put another way, when the harm a Plaintiff is seeking to enjoin has already occurred, and

accordingly cannot be remedied by the requested injunctive relief, a court must deny the request

for injunctive relief. Di Biase, 872 F.3d at 231; Ry. Lab. Executives Ass’n v. Chesapeake W. Ry.,

915 F.2d 116, 118 (4th Cir. 1990) (explaining when a request for injunctive relief is moot). The

plaintiff in Winston v. Federal Bureau of Prisons filed a motion for injunctive relief asking not be

transferred to another prison. No. 5:10-HC-2192-FL, 2011 WL 3664416, at *2 (E.D.N.C. Aug. 18,

                                                    -8-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 8 of 27
2011). But because the inmate had already been transferred, the motion was denied “because

petitioner seeks to enjoin an act that already has occurred.” Id.; see also Wheelihan v. Bingham,

345 F. Supp. 2d 550, 554 (M.D.N.C. 2004) (same).

             Here, the harm Plaintiff characterizes as irreparable is failing to complete his degree by

May 2023. See Pl.’s Br. at 18. No relief granted by the Court will enable him to do so. The Spring

2023 semester commenced on January 9, 2023, and Plaintiff was permitted to attend classes until

January 25. It is notable, if perhaps not dispositive, that during that time period Plaintiff failed to

attend, or do work for, at least one of the classes that are required for him to graduate. See

Declaration of Dr. Gokce Palak (“Palak Decl.”) attached as Exhibit L. Between the beginning of

the semester and January 25, Plaintiff did not access the online materials for his Business &

Enterprise Management 241 class. Id. at ¶ 5. In fact, Plaintiff’s professor took the initiative to

contact the Dean’s office on or around January 19 because she was concerned that John Doe was

not keeping up with the coursework and he had not accessed the materials. This professor has

made clear in connection with this Motion that even if Plaintiff resumed the class immediately, he

has missed too much coursework and could not pass the class. Id. at ¶ 7-8.

             In a second class, Doe was assigned to a group at the beginning of the semester, which was

responsible for the first group assignment (a “deliverable”). The group divided the work, assigning

some to Doe. At the time of his withdrawal, Doe had not completed his share of the group

assignment. See Declaration of Phil Anderson (“Anderson Decl.”) attached as Exhibit M at ¶¶ 5.

The mid-term examination for the course was February 16, 2023. Immediately after the midterm,

students will be assigned to begin working on a larger group project. The first two group projects

prepared students for this larger project, building on skills already developed in the first two

projects. The professor for this second class likewise does not believe Doe can be successful in his


                                                    -9-
41154994.8




         Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 9 of 27
course at this juncture, and moreover noted that adding Doe back on to a team at this late date

would be a significant and unfair burden on that team, since Doe would be entering without any

of the fundamental skills developed in the group work for the first half of the course. Id. at ¶ 8.

             In sum, even if Plaintiff returned to class immediately, he will not be able to complete the

required coursework and would be ineligible to graduate in May 2023. See Declaration of Dr.

Kenny Herbst (“Herbst Decl.”) attached as Exhibit N at ¶ 4. Because Doe cannot establish that

the absence of injunctive relief is what is preventing him from suffering his feared harm, his

Motion should be denied. Accord Southtech Orthopedics, Inc. v. Dingus, 428 F. Supp. 2d 410,

420–21 (E.D.N.C. 2006) (injunctive relief inappropriate where movant’s own actions are

inconsistent with request for relief).

                b. Plaintiff’s feared injuries are economic, not irreparable.

             It is axiomatic that economic injuries are not irreparable in nature. Di Biase, 872 F.3d at

230. “A plaintiff must overcome the presumption that a preliminary injunction will not issue when

the harm suffered can be remedied by money damages at the time of judgment.” Id. (citing Hughes

Network Sys., Inc. v. InterDigital Commc’ns Corp., 17 F.3d 691, 693 (4th Cir. 1994)).

             Numerous courts have held that a student who is dismissed or suspended from a University

does not suffer irreparable harm because a delay in education is compensable through monetary

compensation. Madej v. Yale Univ., No. 3:20-CV-133 (JCH), 2020 WL 1614230, at *6 (D. Conn.

Mar. 31, 2020) (delay in obtaining degree is not irreparable harm and can be compensated by

monetary damages); Doe v. George Washington Univ., 305 F. Supp. 3d 126, 135 (D.D.C. 2018)

(delay in education due to disciplinary matter does not constitute irreparable harm); Doe v. Vassar

Coll., No. 19-CV-9601 (NSR), 2019 WL 6222918, at *6 (S.D.N.Y. Nov. 21, 2019) (irreparable

harm where plaintiff would lose “his ability to graduate with his class”); Montague v. Yale, No.


                                                     -10-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 10 of 27
3:16-CV-00885(AVC), 2017 WL 4942772, at *4 (D. Conn. Mar. 8, 2017) (delay in education can

be remedied through monetary compensation.”).

             This conclusion is underscored by common sense. Plaintiff has shown that he is attractive

to employers; he has already demonstrated that he can get a job. Plaintiff contends only that the

job he currently has been promised requires him to graduate. He has not alleged that the employer

would not permit him to defer pending graduation, and, more important, he has not shown other

than through his own speculation that he would be unable to get a comparable job when he does

get a degree, presumably a year later, following his suspension. Plaintiff does not allege that he is

required to disclose the investigation (or outcome) to his current (or any future) employer. Plaintiff

concedes that the loss of employment set to begin in the Summer of 2023 is monetarily

compensable for lost salary. See Pl.’s Br. at 18 (“while money damages might help to compensate

for the lost salary that he had expected to begin earning in the summer of 2023. . .”). The only

imminent harm Plaintiff has identified is a delay in obtaining a salary, which is compensable harm.

             Plaintiff further contends: (1) that delay in starting his career would harm his future career

success; and (2) that he would forever have to explain to employers why he did not graduate on

time. [ECF No. 6 at 18]. But Plaintiff must allege irreparable harm that is “actual and imminent”

not “remote nor speculative.” Talleywhacker, Inc. v. Cooper, 465 F. Supp. 3d 523, 542 (E.D.N.C.

2020) (citing Scotts Co. v. United Indus. Corp., 315 F.3d 264, 283 (4th Cir. 2002)); Manning v.

Hunt, 119 F.3d 254, 263 (4th Cir.1997) (A fear of speculative or remote future injury cannot

constitute irreparable harm; there must be a likelihood that immediate irreparable harm will occur).

Moreover, allegations of diminished future educational or employment prospects are definitionally

speculative in nature and cannot establish irreparable harm. Caila v. Saddlemire, No. 3:12-CV-

00624 VLB, 2013 WL 1310002, at *2, 2013 U.S. Dist. LEXIS 43208, at *4 (D. Conn. Mar. 27,


                                                     -11-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 11 of 27
2013) (speculation that expulsion would interfere with academic and professional career too

tenuous to demonstrate irreparable harm); Knoch v. Univ. of Pittsburgh, No. 2:16-CV-00970-CRE,

2016 WL 4570755, at *8 (W.D. Pa. Aug. 31, 2016) (same).

             Plaintiff also argues, in evident boilerplate, that he “would forever have to explain to any

future employer or graduate program the reason for his failure to complete his degree on time.”

See Pl.’s Br. at 18. Apart from the fact that at this juncture, that result is unavoidable, the

disciplinary process administered at the University was confidential and cannot be made public

without Plaintiff’s consent, so Plaintiff’s allegations in that regard are unfounded in addition to

speculative. In any case, concerns over stigma associated with an adverse outcome in a misconduct

proceeding likewise does not constitute irreparable harm. Doe v. Princeton Univ., No. 3:20-CV-

4352-BRM-TJB, 2020 WL 2097991, at *7 (D.N.J. May 1, 2020) (“the argument that Plaintiff’s

reputation, ability to enroll at other institutions, and ability to pursue a career would be damaged

is too speculative to satisfy the irreparable harm requirement.”); Brodie v. U.S. Dep’t of Health &

Human Servs., 715 F. Supp. 2d 74, 84 (D.D.C. 2010) (speculation that third-party may learn of

decision did not support irreparable reputational harm). Because Plaintiff has failed to establish

predicate irreparable harm that is actual and imminent, he is not entitled to a injunctive relief.

 II.         Plaintiff has not demonstrated that his Title IX claim is likely to succeed on the
             merits because he has not tied any decision made by the University to his sex.

             Plaintiff must make a “clear showing” by clear and convincing evidence that he is likely to

succeed on the merits to prevail on his motion. Bartell v. Grifols Shared Servs. NA, Inc., No.

1:21CV953, 2022 WL 3359304, at *4 (M.D.N.C. Aug. 1, 2022) (citing Di Biase, 872 F.3d at 230);

MicroStrategy Inc. v. Motorola, Inc., 245 F.3d 335, 340 (4th Cir. 2001). Fourth Circuit courts

consistently “have declined to issue a preliminary injunction when there are significant factual



                                                     -12-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 12 of 27
disputes.” Chattery Int’l, Inc. v. JoLida, Inc., Civil No. WDQ-10-2236, 2011 WL 1230822, at *9

(D. Md. Mar. 28, 2011).

             Importantly, Plaintiff argues only that his allegations “sufficiently raise a plausible

inference that the University discriminated against Plaintiff when it found him responsible for

violating the Policy, resulting in a sanction of a one-year suspension.” See Pl.’s Br. at 14 (emphasis

added). But this is not a Rule 12 motion; the legal standard is not whether Plaintiff’s claim can

survive a motion to dismiss, but whether he has shown by clear and convincing evidence that a

University decision-maker intentionally discriminated against him in this case because of his

gender, and that “but for” his gender, the outcome would have been different. Sheppard v. Visitors

of Virginia State Univ., 993 F.3d 230, 236–37 (4th Cir. 2021) (adopting “but for” causation

standard for Title IX claims alleging discrimination on the basis of sex or gender in school

disciplinary proceedings.); Bartell v. Grifols Shared Servs. NA, Inc., No. 1:21CV953, 2022 WL

3359304, at *4 (M.D.N.C. Aug. 1, 2022) (providing sufficient factual allegations to meet the Rule

12(b)(6) does not establish a likelihood of success on the merits).

             Discrimination based on sex or gender under Title IX can be proven by direct or

circumstantial evidence. U.S. Postal Serv. Bd. of Governors v. Aikens, 460 U.S. 711, 714 n.3

(1983), but we can dispense with the former because Plaintiff does not provide any direct evidence

of discrimination – no University official involved in the hearing is alleged to have made any

gender-discriminatory remarks; there are no provisions in the University Policy that put any party

at a disadvantage based on gender; and there are no gender stereotypes in the Investigation Report.

             Plaintiff accordingly relies entirely on circumstantial evidence to support his allegations of

purported bias. The inferences Plaintiff presents, however, are unpersuasive, and, in this

procedural posture, demonstrably false. They are limited to the following: (1) Plaintiff speculates


                                                     -13-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 13 of 27
that the Wake Forest Title IX Office deliberately withheld a second allegation on nonconsensual

intercourse – it did not, as shown in contemporaneous evidence of record and witness declarations;

(2) Plaintiff argues that the lead investigator suggested answers to Jane Roe in interviews – she

did not, as shown by the recorded context of her interviews and declaration; (3) Plaintiff alleges in

conclusory fashion that the Hearing Officer conducted the hearing with improper and inequitable

procedure – she did not, and the University has provided the entire hearing record to demonstrate

how unremarkable the proceedings were from the perspective of Plaintiff’s objections and the

Hearing Officer’s conduct, in addition to directly addressing the few concrete examples Plaintiff

actually provides; and (4) Plaintiff disagrees with the outcome of the process, and so argues that

in his view, the conclusions in Final Outcome Letter were not supported by the evidence. To the

contrary, the Final Outcome letter is straightforward, shows all its work, and its reasoning is

supported by the investigation and hearing record. See Pl.’s Br. at 15.

             None of these allegations has any merit, but even if they did – even if Plaintiff adduced an

issue of disputed fact on one or more of these allegations – it would still be insufficient to show

that (a) Plaintiff had met the high bar for injunctive relief through a substantial likelihood of

success (because the facts are contested, see Chattery, 2011 WL 1230822, at *9) or (b) sex was

the “but for” cause of any decision by the University that harmed Plaintiff, as opposed to any

number of other plausible (and lawful) reasons.1



1
        Plaintiff also suggests that external factors such as an investigation by the Office for Civil
Rights, a student protest, student surveys, and an unrelated criminal trespassing charge placed
external pressure on the University to find in favor of a female complainant and against a male
respondent. Those external factors had no impact on the outcome (and are belied by the statistics
regarding recent outcomes in sexual misconduct cases at the University generally). See Casseus
Decl. ¶ 42. The Hearing Officer and Appeal Officer were both independent, third-party decision-
makers brought in from outside the University specifically to keep the proceedings free from such

                                                     -14-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 14 of 27
                a. There is no evidence that University employees conspired to hide an
                   allegation of nonconsensual intercourse from Plaintiff.

             Plaintiff first argues that the addition of a nonconsensual sexual intercourse allegation four

months after the initial Notice regarding Jane Roe’s complaint demonstrated bias against him by

the University. See Pl.’s Br. at 14. In making this allegation, Plaintiff makes several factual

assumptions that are not correct.

             First, Plaintiff assumes that the University was aware of the nonconsensual sexual

intercourse allegation from the start, which it wasn’t. Jane Roe’s initial complaint on April 12,

2022 did not contain an allegation of nonconsensual intercourse. See Formal Complaint. After the

Formal Complaint was submitted but before an investigator was assigned to the case or either party

was interviewed, the parties agreed to attempt to resolve the matter through Adaptive Resolution,

effectively staying the matter for four months. See Compl. ¶¶ 175-81; Casseus Decl. ¶¶ 18-24.

Plaintiff was not interviewed by the University at any point about the allegations during this time

period. See Telligman Aff. ¶ 28. On August 18, 2022, Jane Roe requested to proceed to a formal

investigation. [Casseus Decl. ¶ 23]. Investigator Telligman was assigned to the case on August 22,

2022 and interviewed Jane Roe about her allegations for the first time on August 30, 2022, which

is when Telligman learned of the second allegation. See Telligman Decl. ¶ 17, 19-20.

             Second, Plaintiff assumes (and implies) that the University knew of the second allegation

for a significant period of time before alerting him. Not so. After Telligman learned about the

second allegation on August 30, 2022, she immediately informed Title IX Coordinator Casseus,

who sent Plaintiff an Updated Notice on September 1, 2022. See Casseus Decl. ¶¶ 27-30.



influence. Critically here, neither was even aware of the events alleged by Plaintiff. See Wells
Decl. ¶ 27; Kallem Decl. ¶ 11.


                                                     -15-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 15 of 27
             Third, Plaintiff suggests that the delay in notice was designed to prejudice him, but that too

makes little sense, since the entire purpose of a pre-interview notice is to provide a party with

information about what will be discussed in the interview. Plaintiff was never interviewed

substantively about the allegations until after the second notice. See Telligman Decl. ¶ 28. So,

even if the delay had been anything less than outside the University’s control, it still would not

have made a practical difference in Plaintiff’s ability to prepare for his interview.

             It is worth underscoring here that the University cannot control when and how students

submit allegations under the Policy. It is not uncommon for new information to come to light

during the first interview with a complainant because prior to the first interview a complainant has

not been questioned in detail with respect to the allegations. This is particularly true in sexual

misconduct investigations. See Telligman Decl. ¶ 21. The University’s prompt notice of the new

allegation cannot stand in for “a clear showing” of bias against Plaintiff because of his gender.

                b. Plaintiff has failed to show that Investigator Telligman exhibited sex-based
                   bias in her investigation.

             Plaintiff next alleges that Investigator Telligman suggested answers to Jane Roe to explain

away inconsistencies in her testimony and medical records. Pl.’s Br. at 15. Plaintiff presents a

single example of Telligman’s presumed bias in his Complaint, which, when taken out of context,

he suggests demonstrates improper coaching. However, when viewed in context, it is clear that

Plaintiff’s characterization lacks substance or merit. It is worth underscoring here that even if

Plaintiff’s claim that Investigator Telligman suggested answers to Jane Roe were true, it would be

immaterial to the outcome. Jane Roe was examined by Hearing Officer Wells and cross-examined

by Plaintiff’s advisor extensively at the hearing on these statements. The University did not take

any action against Plaintiff based on the investigation; it did so based on a hearing where all



                                                     -16-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 16 of 27
decisions as to the facts were made in the first instance with a full opportunity for both parties to

be heard.

             Accordingly, Plaintiff’s argument that when Investigator Telligman said “So it may be,

and correct me, I’m going to make an assumption based on what you just told me, it may be that

your goal there was just to get the drug testing, not to report anything necessarily. Is that kind of

what you’re telling me. . .” (Compl. at ¶ 212), she improperly suggested testimony is not just wrong

on the facts, it is immaterial to the outcome. In any case, a review of the entire exchange shows

something quite different from Doe’s characterization:

             [Jane Roe]: Um, it’s really hard to answer those questions, and quite frankly, I came
             in trying to not answer any one of them. So I think just with those things in mind. I
             think that adds clarity as to why, you know, the report is written the way as it is,
             because I didn’t answer everything, and I didn’t know how to answer everything
             without getting people in trouble. And there were so many things in those questions.
             So as for the difference, I think, keeping those things in mind. That is why there is
             a difference, but also similarities in some senses.

             Jessica: And it looks like to me under subjective, it says chief complaint, requesting
             drug testing. So it may be, and correct me, I’m going to make an assumption based
             on what you just told me, it may be that your goal there was just to get the drug
             testing, not to report anything necessarily. Is that kind of what you’re telling me?

             [Jane Roe]: My goal was absolutely not to report. I was terrified. I didn’t think
             anybody would believe me.

See Excerpt of Interview with Jane Roe (10/12/22) attached as Exhibit O. Taken in its full context,

Investigator Telligman does not suggest an answer. Rather, she asks a clarifying question to

confirm her understanding of a circuitous answer. See Telligman Decl. ¶¶ 33-35. To establish

bias, it is not enough for Plaintiff to allege Investigator Telligman took this approach with Jane

Roe, he must establish she did not take the same approach with Plaintiff. She did. For example:

             Jessica Telligman: You think but we’re not sure that was about midnight? Possibly?




                                                     -17-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 17 of 27
             [Plaintiff]: Yeah, I don’t. I don’t want to say I’m positive. But if I had to guess, I
             would assume the sorority date function kind of wrapped up by then.

             Jessica Telligman: you don’t remember, and I’m assuming that’s not because you
             were too impaired to remember. It’s because of the passage of time?

             [Plaintiff]: Correct. I, again, I want to make clear that I was fully coherent during
             this event. I was not blackout. My memory was not spotty due to alcohol. It’s just
             a matter of being so long ago that certain events don’t stick in my mind that long.

See Excerpt from Transcript of Interview with Plaintiff (9/8/22) attached as Exhibit P. Under

Doe’s analysis, Telligman improperly suggested that Doe was not impaired that night but simply

could not remember because of passage of time, which Plaintiff adopted. But, an objective reading

is that Telligman was simply asking a question to clarify an answer as she did with Jane Roe.

             Plaintiff also complains about Investigator Telligman’s characterization of Jane Roe’s text

that “it burns” meant vaginal pain. See Compl. at ¶ 314-17. As Telligman’s declaration makes

clear, however, her questions were directed at understanding the text messages, just as above. Jane

Roe was cross-examined extensively on the meaning of “it burns” during the hearing, where her

credibility could be and was considered by the hearing officer. See Hr’g Tr.2 at 278-80. Critically,

rather than adopting Telligman’s question, Jane Roe testified that she did not remember sending

the text and she was presuming what she meant. See Hr’g Tr. at 279. Wells understood the value

of her testimony, stating “she testified she does not remember any of this.” See Hr’g Tr. at 280.

Thus, even if Plaintiff were correct, against the weight of the evidence, that Telligman attempted

to suggest an answer to Jane Roe, it didn’t have any effect on the outcome of the hearing because

Jane Roe testified at the hearing she did not remember sending the text or what she meant by it.




2
       For convenience of the Court, the University prepared a transcript of the Title IX hearing
from the videos, which is attached as Exhibit S. “Hr’g Tr.” references citations to the transcript.


                                                     -18-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 18 of 27
             As pointed out by the Appeal Officer, Jane Roe’s texts were just one piece of evidence

relied upon. See Appellate Decision at 11. The Hearing Officer relied on other contemporaneous

evidence to make her reasoned finding that it was more likely than not that nonconsensual sexual

intercourse occurred; there is no “but for” causation to be found here. See Declaration of Dixie

Wells (“Wells Decl.”) attached as Exhibit Q at ¶ 26; Final Outcome Letter at 22].

                c. Plaintiff fails to offer any evidence of sex-based bias during the hearing.

             As explained above, controlling the hearing and limiting irrelevant or unnecessary

testimony is within the discretion (and is the obligation) of the Hearing Officer under the Policy.

See Policy §§ 3A.07, 3A.08 (requiring exclusion of irrelevant questions); Wells Decl. at ¶¶ 21-23.

                        i. Plaintiff’s allegations of time limitation are unsupported.

             Plaintiff first contends that the Hearing Officer was biased because, at least as he

characterizes it, she limited the time Plaintiff’s advisor could cross-examine Jane Roe. See Pl.’s

Br. at 15. Plaintiff does not explain that the order of witnesses for the hearing was set well in

advance and was discussed with both parties both at a pre-hearing conference on November 21,

2022 and again at the beginning of the hearing. See Wells Decl. at ¶ 13. Plaintiff never objected to

the order of witnesses before or during the hearing. Plaintiff also omits that Jane Roe was on the

stand for significantly more time than any other witness, including Plaintiff himself. Jane Roe was

examined for nearly three hours; approximately two hours of which was cross-examination by

Plaintiff’s attorney. See Hr’g Tr. at 223-299; Wells Decl. ¶ 15. At 9:51 p.m, more than two hours

into Jane Roe’s the examination, Wells told Plaintiff’s advisor: “We have been going quite a while.

Obviously we’ll go as long as we need to, but I also will be very careful about whether questions

are relevant, reliable, and relevant to my decision-making.” See Hr’g Tr. at 288.




                                                  -19-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 19 of 27
             Twenty-five minutes later, at 10:16 p.m., Wells told Plaintiff’s advisor: “I’m going to allow

you to go 15 more minutes, and then I’m going to stop it. That will be two hours of cross for [Jane

Roe], [Plaintiff] was crossed for an hour. And so, just know that you have 15 minutes and you can

use it as you wish subject to my objections and instructions. But we’ll go another 15 minutes.” See

Hr’g Tr. at 295. Plaintiff’s advisor then took two short breaks, then concluded his questioning just

six minutes later, saying “I have no further questions.” See Hr’g Tr. at page 297 (emphasis

added). Plaintiff’s allegations now that his time was limited was accordingly conclusively waived

in addition to being unsupported by the record.

                        ii. Plaintiff’s allegations of relevance determinations are unsupported.

             Plaintiff’s motion goes on to argue that he was prevented from asking critical questions

during cross-examination of Jane Roe. See Pl’s Br. at 15. Notably, when Doe raised this objection

during the hearing, the Hearing Officer asked what specific objections he had. The only objection

Plaintiff’s advisor stated was “So I was not allowed to question [Jane] about her athletic

conditioning, her strength. And what I was trying to get at was her ability to fight him off

physically.” See Hr’g Tr. at 298.

             The Hearing Examiner responded: “I believe that she testified fully about why she did not

try to push his hand away. She did not say it was a strength issue, she did not put that in question,

so I don’t see how that becomes relevant to any decision that I would be making.” See Hr’g Tr. at

299. Plaintiff’s advisor replied, “Very good. I am finished.” See Hr’g Tr. at 299. The rejection of

irrelevant testimony that had already been discussed is not evidence of discrimination against

Plaintiff. Plaintiff’s subjective disagreement with her evidentiary ruling does not make that ruling

sex-discriminatory. Appeal Officer Kallem agreed and found that not allowing this line of

questioning “would not be evidence of procedural irregularity but more in the nature of a


                                                     -20-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 20 of 27
substantive disagreement. . .” See Appellate Decision at 7, 16; Declaration of Howard Kallem

(“Kallem Decl.”) attached as Exhibit R at ¶¶ 6-9.

                        iii. Plaintiff’s allegations regarding interruptions are unsupported.

             Plaintiff next argues that Hearing Officer Wells allowed Jane Roe’s advisor to interrupt

Plaintiff’s advisor during cross-examination, although his Complaint, unlike his motion, makes

clear that the single offending question from Jane Roe’s advisor related to timing (ECF 1 at ¶ 229

(“Wells permitted Jane’s advisor to interrupt [Plaintiff’s] attorney during his cross-examination of

Jane, to inquire how much longer he would take.”)) The transcript tells the full, de minimus story:

             John Fitzgerald: Why would you make a joke after you had been violently raped,
             or I’m sorry, raped and assaulted? Why would you make a joke or sarcasm about
             that?

             Dixie Wells: Allowed.

             [Jane Roe]: Because as I stated, I was in a state of shock. I didn’t really understand
             what had happened to me and I was sitting by myself unsure to make of what
             everything had just been. And yeah.

             Skye Davis: Ms. Wells, may I ask just how long we expect to continue?

             Dixie Wells: Mr. Fitzgerald, do you know how much longer you have?

             John Fitzgerald: Oh, about another hour.

See Hr’g Tr. at 287-88. Roe’s advisor made only one other comment during the entire cross-

examination, when she asked if a particular question was relevant. See Hr’g Tr. at 263. It seems

well beyond the pale to conclude that two questions from Roe’s advisor establishes bias.

                 d. Hearing Officer Wells’ Final Outcome Letter was well-reasoned and
                    supported by the evidence.

             It is important to note that in addition to the advantage of being able to select highly trained,

competent people, a principle goal of retaining external, third-party and independent hearing

officers and appeal officers is that they are free to act independently. Neither the Hearing Officer


                                                       -21-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 21 of 27
nor the Appeal Officer in this case were University employees. Both were successful, in-demand

professionals for whom work for Wake Forest is a tiny proportion of their income. They are not

beholden to University officials for their livelihoods in the way an internal administrator might be,

and they both exercise that judgment ethically and professionally.

             Against that backdrop, Plaintiff argues that the Final Outcome Letter demonstrates bias

and discrimination by Hearing Officer Wells because her decision was against the weight of the

evidence. See Pl.’s Br. at 15. First, even if Hearing Officer Wells’ opinion were against the weight

of the evidence – and it is not – there could be an infinite number of reasons why it might be.

Plausibility is not the standard on Plaintiff’s motion, and the bottom line is that he has failed to

prove any “substantial likelihood” of a connection between the outcome and his sex.

             He also fails to raise any serious question about the Hearing Officer’s conduct. Plaintiff

alleges that Hearing Officer Wells inappropriately relied on inconsistent statements by Jane Roe,

statements suggested to Jane Roe by Investigator Telligman, and Jane Roe’s refusal to allow

questioning of medical personnel related to her records3 and, therefore, the reasoning in the Final

Outcome Letter was erroneous. See Pl.’s Br. at 15. Even were the Court to take all of these

allegations as true (which is not the standard here), Plaintiff ignores the significant other evidence

available in the record and relied upon by Wells, including: the testimony of six other witnesses

some of who offered contemporaneous accounts, the medical records, text messages submitted by

both parties, and credibility determinations of Jane Roe and Plaintiff during the hearing.

Ultimately, weighing all the evidence, the Hearing Officer found, within her discretion, that it was


3
       Jane Roe has a right under federal law to decline to allow the University access to medical
records as part of its investigation. See 34 C.F.R. 106.45(b)(1)(x); see also Policy at 2B. 05. She
was also questioned extensively on this issue during the hearing. Hr’g Tr. at 37-39.


                                                    -22-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 22 of 27
more likely than not that Plaintiff was responsible for two instances of sexual assault in violation

of the Policy. See Final Outcome Letter at 22; Appellate Decision at 20.

                e. The impartiality of the outcome is bolstered by the Appellate Decision, with
                   which Plaintiff finds no fault.

             Beyond all these fundamental problems of proof, this case is also not Plaintiff’s first bite

at the apple – it is his third. His complaints of bias and discrimination at the hearing have already

been examined by an independent third party on appeal and found to be without merit. [Appellate

Decision ECF No. 6-9]. Plaintiff notably makes no serious allegation that the Appellate Decision

is the product of bias, and yet it affirmed all of the decisions Plaintiff raises here as erroneous.

             The Final Outcome Letter and Appellate Decision each read as objective, well-reasoned,

and supported opinions about the evidence and the hearing. See generally Final Outcome Letter;

Appellate Decision. The declarations by the Hearing Officer and Appellate Officer underscore

those conclusions. Based on the record and the objective, well-reasoned opinions from the Hearing

Officer and Appeal Officer, there is substantial evidence that Plaintiff will not succeed on the

merits, which means that he cannot satisfy this essential prong of his burden.

III.         The balance of the equities tips strongly in favor of denying Plaintiff’s request for
             preliminary injunctive relief.

             Plaintiff is only entitled to a preliminary injunction if the balance of equities tilts

“decidedly” in his favor. Direx Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 816 (4th

Cir. 1991). Plaintiff speculates that the harm caused by his suspension and inability to graduate on

time will harm him throughout his life, but the predicate for that contention – a delayed graduation

– has already come to pass. Plaintiff has likewise already obtained employment once without a

degree; there is no reason beyond Plaintiff’s conclusory allegation to conclude Plaintiff cannot do

so again, now or after attaining his degree in the future.


                                                     -23-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 23 of 27
             On the other hand, ordering a suspended student suspended back on to campus undermines

the policies that govern student conduct and discipline and causes significant disruption on campus

for other affected students. The construct Plaintiff proposes suggests that any student found

responsible for violating University policy presumptively has the equitable upper hand and should

be able to stall sanctions during the pendency of a lawsuit, but that standard is unworkable. For

one thing, the University has an obligation under federal law not just to adjudicate complaints of

sexual assault, but to resolve such complaints; institutions are not free to disregard the outcomes

of Title IX adjudications merely because one student seeks civil relief, and it is not equitable to

incentivize a judicial remedy for every disagreement with a disciplinary outcome.

             The Court should also consider the potential harm to Jane Roe and other students. Granting

injunctive relief based on a limited record and allowing Plaintiff to return to campus may put him

in close proximity to Jane Roe and interfere with her rights, regardless of the no contact order in

place. Doe v. Univ. of Cincinnati, No. 1:15-CV-600, 2015 WL 5729328, at *3 (S.D. Ohio Sept.

30, 2015) (“harm to others” prong weighed against issuance of order where reinstating plaintiff to

honors program and placing plaintiff into close proximity with female student could interfere with

her rights)). In light of the foregoing, Plaintiff has failed to carry his burden.

IV.          There is a strong public interest in the University being able to investigate and
             discipline its students for misconduct.

             Granting plaintiff’s extraordinary request for injunctive relief likewise undermines the

University’s ability to adjudicate student misconduct claims in an orderly, private, and efficient

manner. The Supreme Court has recognized the need for schools to maintain order and discipline

in a manner that contributes to, and does not disrupt, the educational process. See, e.g., Goss v.

Lopez, 419 U.S. 565, 590 (1975).



                                                    -24-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 24 of 27
             The University is required by law to investigate alleged sexual misconduct involving its

students. See 20 U.S.C. §1681 et seq.; 34 C.F.R. Part 106 et seq. By placing these obligations on

colleges and universities, Congress and federal agencies have clearly and on a bipartisan basis

articulated a strong public interest in such processes. Although federal enforcement of Title IX

obligations began in earnest under a Democratic administration, the rules currently enforced

against institutions were proposed and promulgated by a Republican administration. See e.g. 34

C.F.R. Part 106.45 (effective Aug. 2020). With political polarization at a zenith, the issue of

institutions’ obligation to engage in these processes is bipartisan and unequivocally in the public

interest. Accord Tsuruta v. Augustana Univ., No. 15-4150, 2015 WL 5838602, *10 (D.S.D. Oct. 7

2015). Issuing injunctive relief in a case like this, particularly when the evidence does not support

the injunction, “would likely interfere with [a university]’s ability to enforce its disciplinary

standards.” Marshall, 2015 WL 1179955, at *10.

             Plaintiff contends that there is a strong public interest in avoiding violations of his civil

rights, but as discussed above, Plaintiff has failed to establish a likelihood of success on his claims

of gender discrimination and, therefore, it is unlikely he can demonstrate that his civil rights were

violated. There is no public interest in reinstating a student found responsible for sexual assault

prior to him demonstrating any entitlement to relief.

                                              CONCLUSION

             For all the foregoing reasons, Plaintiff’s Motion should be denied.




                                                     -25-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 25 of 27
Dated: February 16, 2023              Respectfully Submitted,

                                      /s/Joshua W. B. Richards
                                      Joshua W.B. Richards (Special Appearance)
                                      Douglas A. Sampson (Special Appearance)
                                      SAUL EWING LLP
                                      Centre Sq. West, 1500 Market St.
                                      38th Floor
                                      Philadelphia, PA 19102
                                      215-972-7737
                                      joshua.richards@saul.com
                                      douglas.sampson@saul.com

                                      and

                                      William K. Davis (NCSB No. 01117
                                      Alan M. Ruley (NCSB No. 16407)
                                      BELL, DAVID & PITT, P.A.
                                      P.O. Box 21029
                                      Winston-Salem, NC 27120
                                      336-722-3700
                                      wdavis@belldavispitt.com
                                      aruley@belldavispitt.com




                                       -26-
41154994.8




        Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 26 of 27
                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 ___________________________________
                                     :
 JOHN DOE,                           :
                                     :
                   Plaintiff,        : Case No. 1:23-cv-00114
                                     :
     v.                              :
                                     :
 WAKE FOREST UNIVERSITY,             :
                                     :
                   Defendant.        :
 ___________________________________ :

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 16th day of February, 2023, a copy of the foregoing Opposition

to Plaintiff’s Motion for a Temporary Restraining Order and Preliminary Injunction, a proposed

Order and all exhibits was served on all parties via the court’s ECF system




                                                   /s/ Douglas A. Sampson
                                             Douglas A. Sampson




     Case 1:23-cv-00114-KDB-SCR Document 20 Filed 02/16/23 Page 27 of 27
